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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    FRANCHISE GROUP, INC., et al.,1                            Case No. 24-12480 (LSS)

                                 Debtors.                      (Jointly Administered)



                                          AFFIDAVIT OF SERVICE

       I, Nelson Crespin, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

        On March 12, 2025, at my direction and under my supervision, employees of Kroll
caused the following documents to be served by the method set forth on the Core/2002 Service
List attached hereto as Exhibit A:

     •       Notice of Second Supplement to List of Ordinary Course Professionals [Docket No.
             1093]

     •       Notice of Filing of the Ordinary Course Professional Declaration of Clearbridge
             Compensation Group LLC [Docket No. 1094]



1
  The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
(8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
(5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet, LLC
(n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group
Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968),
Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate
BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition, LLC (3490), Vitamin Shoppe
Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe
Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590),
Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco
PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service
Newco, LLC (6414), WNW Franchising, LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL,
LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located
at 2371 Liberty Way, Virginia Beach, Virginia 23456.
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       On March 12, 2025, at my direction and under my supervision, employees of Kroll
caused the following document to be served (1) by the method set forth on the Fee Application
Service List attached hereto as Exhibit B, and (2) via First Class Mail and Email on Direct Fee
Review LLC, Attn: Don F. Oliver, 24A Trolley Square, #1225, Wilmington, DE 19806,
dfr.dfo@gmail.com; dfr.wjd@gmail.com:

      Second Monthly Fee Application of Young Conaway Stargatt & Taylor, LLP, as Co-
       Counsel for the Debtors and the Debtors in Possession, for Allowance of Compensation
       and Reimbursement of Expenses for the Period from January 1, 2025 through and
       Including January 31, 2025 [Docket No. 1091]

Dated: March 24, 2025
                                                                   /s/ Nelson Crespin
                                                                     Nelson Crespin
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on March 24, 2025, by Nelson Crespin, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ HERBERT BAER
Notary Public, State of New York
No BA6205563
Qualified in Westchester County
Commission Expires May 11, 2025




                                                2                                       SRF 86795
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                                                                                                                      Exhibit A
                                                                                                                Core/2002 Service List
                                                                                                               Served as set forth below

                                   DESCRIPTION                                             NAME                                            ADDRESS                                           EMAIL       METHOD OF SERVICE

                                                                                                                Attn: Marty L. Brimmage, Jr.
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Retaining Debtors                                                     Akin Gump Strauss Hauer & Feld LLP        Dallas TX 75201                                          mbrimmage@akingump.com        Email

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                                                                                                                       Exhibit A
                                                                                                                 Core/2002 Service List
                                                                                                                Served as set forth below

                                  DESCRIPTION                                             NAME                                              ADDRESS                                           EMAIL        METHOD OF SERVICE

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                                                                                                                         Exhibit A
                                                                                                                   Core/2002 Service List
                                                                                                                  Served as set forth below

                                  DESCRIPTION                                                 NAME                                            ADDRESS                                        EMAIL     METHOD OF SERVICE

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interest to DDR Carolina Pavilion, LP, Sylvan Park Apartments, LLC    Burr & Forman LLP                            Wilmington DE 19801                                jfalgowski@burr.com            Email

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                                                                                                                   Core/2002 Service List
                                                                                                                  Served as set forth below

                                  DESCRIPTION                                             NAME                                                ADDRESS                                    EMAIL        METHOD OF SERVICE

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                                                                                                                        Exhibit A
                                                                                                                  Core/2002 Service List
                                                                                                                 Served as set forth below

                                  DESCRIPTION                                                NAME                                            ADDRESS                                   EMAIL              METHOD OF SERVICE

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                                                                                                                       Core/2002 Service List
                                                                                                                      Served as set forth below

                                  DESCRIPTION                                              NAME                                                   ADDRESS                                                 EMAIL                  METHOD OF SERVICE

                                                                                                                       Susan Fuertes
Counsel to Harris County, Harris County Flood Control District, Harris                                                 Attn: Property Tax Division
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                                                                                                                       940 West Main Street, Suite 106
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                                                                                                                       Centralized Insolvency Operation
                                                                                                                       P.O. Box 7346
IRS Insolvency Section                                                   Internal Revenue Service                      Philadelphia PA 19101-7346                                                                             First Class Mail

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                                                                                                                       910 Harvest Drive
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Owner LLC, and SITE Centers Corp.                                        Kelley Drye & Warren LLP                      New York NY 10007                                             aselick@kelleydrye.com                   Email

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LLC, Frontier Dover LLC, Frontier Kissimmee LLC                          Kerrick Bachert PSC                           Bowling Green KY 42102-9547                                                                            First Class Mail

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and Former Stockholders                                                Kessler Topac Meltzer & Check LLP               Radnor PA 19087                                               dalbert@ktmc.com                         Email




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                                                                                                                        Exhibit A
                                                                                                                  Core/2002 Service List
                                                                                                                 Served as set forth below

                                  DESCRIPTION                                            NAME                                                ADDRESS                                                 EMAIL          METHOD OF SERVICE

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                                                                                                                       Core/2002 Service List
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                                                                                                                   Core/2002 Service List
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                                                                                                              Core/2002 Service List
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                                                                                                                   Core/2002 Service List
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                                                                                                             Core/2002 Service List
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                                                                                                              Served as set forth below

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                        Exhibit B
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                                                                                                                           Fee Application Service List
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